                   IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           STATESBORO DIVISION

UNITED STATES OF AMERICA                   )
                                           )
              v.                           )          CR 609-042
                                           )
KEVIN TYRONE SAUNDERS                      )
                                           )

  GOVERNMENT’S MOTION FOR LEAVE TO AMEND ITS RESPONSE IN
   OPPOSITION TO DEFENDANT’S 18 U.S.C. § 3582(c)(1)(A) MOTION

      The Government moves to amend its response to defendant Kevin Tyrone

Saunders’s 18 U.S.C. § 3582(c)(1)(A) motion. (Doc. 143.) In the Government’s original

response, the Government observed that Saunders’s PSR did not indicate that

Saunders was married. However, subsequent to filing its response, the Government

received from BOP a copy of Saunders’s certificate of marriage showing that he and

his wife were married while he was incarcerated in June 2019. Therefore, in light of

this updated information, the Government moves for leave to amend its response.

Attached is the Government’s proposed amended response.

                                       Respectfully submitted,

                                       DAVID H. ESTES
                                       UNITED STATES ATTORNEY

                                       /s/ Channell V. Singh
                                       Channell V. Singh
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                           CERTIFICATE OF SERVICE

      This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) that was generated as a result

of electronic filing in this Court. Additionally, a copy has been mailed to:

      Kevin Tyrone Saunders, Reg. No. 14085-021
      FCI Butner Medium II
      Federal Correctional Institution
      Inmate Legal Mail
      P.O. Box 1500
      Butner, NC 27509

      This August 30, 2022.

                                        Respectfully submitted,

                                        DAVID H. ESTES
                                        UNITED STATES ATTORNEY

                                        /s/ Channell V. Singh
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